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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 DANIEL ENGEL, Derivatively on Behalf of
 Nominal Defendant AXSOME
 THERAPEUTICS, INC.,                                 Case No. 1:22-cv-6183-LGS

                       Plaintiff,

               v.

 HERRIOT TABUTEAU, NICK PIZZIE,
 MARK JACOBSON, CEDRIC O’GORMAN,
 KEVIN LALIBERTE, ROGER JEFFS,
 MARK COLEMAN, and MARK SAAD,

                       Defendants,

               and

 AXSOME THERAPEUTICS, INC.,

                       Nominal Defendant.


      STIPULATION AND ------------------
                      [PROPOSED] ORDER FOR STAY OF PROCEEDINGS

       WHEREAS, on July 21, 2022, Plaintiff Daniel Engel (“Plaintiff”) filed a complaint in the

above-captioned action (Dkt. No. 1, the “Complaint”), asserting breaches of fiduciary duties and

contribution for violations of Sections 10(b) and 21D of the Securities Exchange Act of 1934

against Defendants Herriot Tabuteau, Nick Pizzie, Mark Jacobson, Cedric O’Gorman, Kevin

Laliberte, Roger Jeffs, Mark Coleman, and Mark Saad (collectively, the “Individual Defendants”)

derivatively on behalf of Nominal Defendant Axsome Therapeutics, Inc. (“Axsome,” and together

with the Individual Defendants, “Defendants”);

       WHEREAS, the Complaint asserts claims based upon allegations substantially similar to

allegations made in a putative securities class action pending in this District, captioned Gru v.

Axsome Therapeutics, Inc., et al., Case No. 1:22-cv-03925 (the “Securities Class Action”);


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       WHEREAS, following the filing of an amended or consolidated complaint in the Securities

Class Action, defendants in the Securities Class Action (also represented by the undersigned)

anticipate filing pre-motion-to-dismiss letters pursuant to the Court’s Individual Rules and

Procedures and, if permitted, motions to dismiss the then-operative complaint in the Securities

Class Action;

       WHEREAS, the Parties agree that the interests of avoiding inconsistent rulings, judicial

economy, and conserving Court and party resources warrant a stay of this action pending a final

decision, including exhaustion of appeals, on the anticipated motions to dismiss the operative

complaint in the Securities Class Action;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by the parties, by

and through their undersigned counsel, and subject to the Court’s approval that:

       1.       Undersigned counsel for Defendants hereby accepts service of the Complaint on

behalf of all Defendants without waiving any rights or defenses, except as to sufficiency of service;

       2.       All proceedings and deadlines in this action shall be stayed until a final decision,

including exhaustion of appeals, is rendered on the anticipated motions to dismiss the operative

complaint in the Securities Class Action;

       3.       Within thirty (30) days of (a) the final decision on the anticipated motions to

dismiss in the Securities Class Action, or (b) the date this Court lifts the stay pursuant to the

procedure set forth in paragraph 4 hereof, the parties will confer and submit a proposed schedule

for further proceedings for this Court’s approval;

       4.       The parties agree that, at any time during which this action is stayed pursuant to

this Stipulation and Order, any Party may file a motion with the Court to lift the stay no sooner

than fifteen (15) days after the moving party has provided all other parties written notice of its



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intent to file such a motion. Written notice shall be satisfied via email to the undersigned counsel

for all other parties;

        5.       Notwithstanding this stay, Plaintiff may file an amended complaint once without

leave of Court; however, Defendants need not answer or otherwise respond to the Complaint or to

any other complaint or amended complaint that is filed in or consolidated with the above-captioned

action during the pendency of this stay;

        6.       Defendants shall promptly notify Plaintiff in the event any other factually related

stockholder derivative proceedings are initiated, including but not limited to the filing of a

summons and complaint on behalf of Axsome, or if a stockholder makes a demand for inspection

of documents, in either case, based on the same or similar set of factual allegations as alleged in

this Action. In the event that any documents are produced in response to any such stockholder

proceeding or demand, Axsome shall produce the same documents to Plaintiff within ten (10)

business days of such production, provided Plaintiff has entered into a confidentiality agreement,

which will be the same as the confidentiality agreement executed by any stockholder making a

demand pursuant to 8 Del. C. § 220, such that Plaintiff may use such discovery only for the purpose

of litigation or settlement of the Action; provided, however, that any complaint filed by Plaintiff

arising out of, relating to, involving, or in connection with the documents from a books and records

demand shall be deemed to incorporate by reference the entirety of the books and records of which

inspection is permitted. This provision is intended to facilitate coordination and to avoid, to the

extent practicable, duplicative discovery;

        7.       In the event a factually related stockholder derivative proceeding is filed and not

stayed by agreement of the parties or order of court within 60 days of filing, Plaintiff may terminate

the stay of the Action by giving notice to the undersigned counsel for Defendants via email. Within



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      30 days of such notice of termination, the parties shall submit a proposed schedule for further

      proceedings.

              8.       This stay shall not apply to any motions, stipulations, or any other related filings

      pertaining to consolidation of related shareholder derivative actions and/or appointment of lead

      plaintiff(s) and lead and liaison counsel(s);

              9.       If, during the pendency of the stay, a mediation or formal settlement conference is

      held in effort to settle the Securities Class Action or any factually related derivative action,

      Defendants shall provide Plaintiff with reasonable advance notice of such mediation or formal

      settlement conference and will not object to Plaintiff’s attendance at same. In the event a party

      other than Defendants objects to Plaintiff’s participation in the mediation, Defendants will mediate

      separately with Plaintiff at or about the same time; and

              10.      Nothing herein shall be deemed to constitute a waiver of any rights, defenses,

      objections, or any other application to any court that a party may have with respect to the claims

      set forth in the Complaint.

      Dated: August 23, 2022                          Respectfully submitted,

                                                      /s/ Benjamin I. Sachs-Michaels
                                                      GLANCY PRONGAY & MURRAY LLP
So Ordered.                                           Benjamin I. Sachs-Michaels
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